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10
                          UNITED STATES DISTRICT COURT
11                       CENTRAL DISTRICT OF CALIFORNIA
12
       FEDERAL TRADE COMMISSION,                   No. SACV16-00999-BRO (AFMx)
13
                               Plaintiff,          PLAINTIFF FEDERAL TRADE
14                                                 COMMISSION’S OPPOSITION TO
                          v.                       INTERVENORS NEIL AND CAROL
15                                                 ANNENBERG’S MOTION TO
       DAMIAN KUTZNER, et al.,                     DISSOLVE OR OTHERWISE
16                                                 MODIFY PRELIMINARY
                               Defendants.         INJUNCTION
17
                                                   Date: June 19, 2017
18                                                 Time: 1:30 pm
                                                   Location: Courtroom 7C
19
                                                   United States Courthouse
20                                                 350 West 1st Street
                                                   Los Angeles, CA 90012
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22           The Federal Trade Commission (“FTC”) opposes intervenors Neil and Carol
23     Annenberg’s (the “Annenbergs”) motion 1 because they are seeking relief that is
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              Although not styled in this way, the motion appears to be a joint motion on
27     behalf of the Annenbergs and Val-Chris Investments Inc. (“Val-Chris”), the lender
       for the third-note on Foti’s house. Both parties are represented by the same
28     counsel and the motion is supported by a declaration from Val-Chris’ principal.

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1      likely to harm consumers in this matter. The FTC does not oppose the sale of
2      Jeremy Foti’s house, indeed the FTC believes the house should be sold sooner
3      rather than later to maximize value and potential redress available to consumers.
4      But, the Annenbergs seek the ability to sell the house through a non-judicial
5      foreclosure, a process that will insure that the house sells for less than its fair
6      market value, limiting the recovery for the consumer victims. Although it seems
7      unlikely given the Court’s previous ruling on the Receiver’s motion to sell Foti’s
8      house, DE 202, 2 if the Court is inclined to permit the sale of the home it should do
9      so on the condition that the house is marketed by a reputable real estate agency in
10     the ordinary course with any sale of the house subject to approval by this Court.
11     These mechanisms will insure that the house is sold for the maximum amount
12     possible.
13           The Annenbergs’ motion seeks a courthouse steps auction, a process tailor-
14     made to not obtain market value for the home, to the detriment of the consumer
15     victims. DE 240-4 at 5 (“Trustee . . . shall sell said property at the time and place
16     fixed by it in said Notice of Sale . . . at public auction to the highest bidder for cash
17     in lawful money of the United States.”); Cal. Civ. Code § 2924a. This method of
18     sale, requiring a “cash” purchaser without normal marketing, will do nothing but
19     insure the sale price is depressed from its true market value. Notably, the
20     Annenberg’s seek this relief without explaining to the Court that their desired relief
21     will harm, not help, the consumer victims.
22           The Annenbergs’ motion also fails to demonstrate any current need for the
23     sale in a process designed to protect creditors, but not injured consumers. First,
24     they claim an exigent need to sell the house based on the Receiver’s $6,000,000
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27           There, the Court held that selling the house now would not comport with the
       purpose of the preliminary injunction, maintaining the status quo until a final
28     determination on the merits. Id. at 9-10.

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1      valuation of the home when they themselves have previously valued the home at
2      $9,000,000. 3 See DE 129 at 22-47. The Annenbergs are investment purchasers of
3      a promissory note. In these circumstances, California law requires the lender, here
4      Val-Chris, to prepare an appraisal of the home secured in the promissory note to
5      insure that the home’s value meets the statutory minimum loan-to-value rate. Cal.
6      Bus. & Prof. Code § 10232.3(a); Cal. Bus. & Prof. Code § 10232.4. Val-Chris
7      prepared, and the Annenberg’s accepted, the $9,000,000 valuation to confirm that
8      the house would still have more than 20% in equity following the loan, as is legally
9      required. Cal. Bus. & Prof. Code § 10232.3(a)(2). Now, for obvious tactical
10     reasons but without any explanation, they are both rejecting this valuation and
11     claiming that the house has less than 20% in equity. DE 240-1 at 5. Second, the
12     Annenbergs’ claim that the nonpayment on the Fotis’ house is “financially
13     burdensome” is amorphous and unsupported. DE 240-2 at 7. Under the applicable
14     statute, it is illegal for the Annenbergs to have invested more than 10% of their net
15     worth or annual income in the promissory note. Cal. Bus. & Prof. Code §
16     10232.3(b). While not receiving expected payments could be considered
17     “financially burdensome,” there is no claim that the Annenbergs are suffering any
18     significant hardship from the non-payments. Therefore, there is no demonstrated
19     reason why the Annenbergs cannot wait until October for liability to be determined
20     in this matter.
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27            The Motion offers no explanation why the December 2015 $9,000,000
       certified appraisal of the property upon which Val-Chris and the Annenberg’s
28     relied is not valid.

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1            If the Court is inclined to permit the sale of the Fotis’ house, which again the
2      FTC does not oppose, the FTC merely requests that the Court require that the
3      house be sold in a method that will maximize its value. Allowing anything less
4      will harm the consumer victims.
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6                                              /s/ Benjamin J. Theisman
                                              BENJAMIN J. THEISMAN
7                                             GREGORY J. MADDEN
8                                             Attorneys for Plaintiff
                                              FEDERAL TRADE COMMISSION
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10     Executed this 25th day of May, 2017.
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                                  PROOF OF SERVICE
1
             I, Benjamin J. Theisman, on May 25, 2017, served the PLAINTIFF
2      FEDERAL TRADE COMMISSION’S OPPOSITION TO INTERVENORS NEIL
       AND CAROL ANNENBERG’S MOTION TO DISSOLVE OR OTHERWISE
3      MODIFY PRELIMINARY INJUNCTION and documents in support thereof
       through the ECF system.
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5                                        /s/ Benjamin J. Theisman
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